               Case 2:17-cr-00191-RSL Document 30 Filed 11/17/17 Page 1 of 3




 I                                                                      The Hon. Robert S. Lasnik

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 7                          UNITED STATES DISTzuCT COURT FOR THE
                              WESTERN DISTRICT OF WASHINGTON
 8
                                        AT SEATTLE
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       LINITED STATES OF AMERICA,                           No. CRlT-l9l-RSL
ll                              Plaintiff,
t2
l3                                                          FORFEITT]RE
                                                            BILL OF PARTICULARS
14     LOUIS ONG,
15
                                Defendant.
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t7
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l9           The United States, by and through its undersigned counsel, files this Forfeiture

20   Bill of Particulars pursuant to Fed. R. Crim. P. 7(f) and   32.2(a) to further specify the

21   property it intends to forfeit in this case. The United States has already given notice, in

22   the Indictment it filed on Augu st 16,2017, that it intends to forfeit any and all property

23   that constitutes proceeds ofthe Defendant's offenses, as well as any propefty involved in

24   those offenses (Dkt. No. l6). In the Indictment, the United States specifically identified

25   some Bitcoin and u.S. crrrency for forfeiture (1d.). Now, the United States gives notice                  it
26   also intends to forfeit an additional sum of U.S. currency, seized from the Defendant at

27   the time of his arrest on July 2 1 , 2017 . The property subj ect to forfeiture in this case now

28   includes, but is not necessarily limited to:
      Forfeiture Bill ofParticulars - I                                      I.]N ITED STATES   ATTORNEY
                                                                             700 SlE\+ARr SlREEr, SurrE 5220
      U.S. v. Louis Ong, CRlT-191-RSL                                          SEAILE, WAsHr\croN 98101
                                                                                     (2061553-7970
              Case 2:17-cr-00191-RSL Document 30 Filed 11/17/17 Page 2 of 3




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 2              l)   All Bitcoin seized from the Defendant's Mycelium, Green Address, Co-
 J                   Pay, and Breadwallet wallets;

 4              2) All   U.S. crrrency seized from the Defendant's rental vehicle; i.e., a white

 5                   2017 Ford F-150 Super Crew Cab truck, on or about July 27,2017;

 6              3) All   U.S. currency seized from the Defendant's safe deposit box; i.e., Box

 7                   #294located, at Wells Fargo in Ferndale, Washington, on or about July 28,

 8                   2017;
 9              4) All U.S. currency seized from Express Mail     parcel EL513437218US on or

10                 about April I l, 2017 ; and,

ll              5)   $200,000 in U.S. currency seized from the Defendant at the time of his
12                   arrest on luJy 21,2017.

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            DATED      tnirl# day ofNovember,2017.
                                                        Respectfirlly submitted,
l5
                                                        ANNETTE L. HAYES
t6
                                                        United States Attorney
t7
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19
                                                        MICHELLE JENSEN
20
                                                        Assistant United States Attomey
2l                                                      United States Attorney's Office
                                                        700 Stewart Street, Suite 5220
22
                                                        Seattle, Washington 98 I 0 1-1271
23                                                      (206) ss3-2242
                                                        Michelle.Jensen@usdo l.gov
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     Forfciture Bill ofParticulars - 2                                     TJNITED STATES ATTORNEY
                                                                                                5220
                                                                           7OO SIEWART STREET, SUTTE
     U.S. v. Louis Ong, CRlT-191-RSL                                        SEATTLE,   wAsHNGroN    98   l0l
                                                                                   (206) 553-7970
               Case 2:17-cr-00191-RSL Document 30 Filed 11/17/17 Page 3 of 3




 I                                       CERTIFICATE OF SERVICE
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 3           I hereby certify that on November    17   201 7.   I electronically filed the foregoing

 4 with the Clerk of the Court using the CIWECF system, which automatically serves the
 5   parties of record.

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                                                       VUt^M
                                                       MICHELLE JENSEN
 9                                                     Assistant United States Attomey
l0                                                     United States Attorney's Office
                                                       700 Stewart Street, Suite 5220
ll                                                     Seattle, WA 98101-1271
t2                                                     (206) 553-2242
                                                       Michelle.Jensen@usdoi. sov
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      Forfciture Bill ofPaniculars - 3                                      LINITED     S1   ATES ATTORNEY
                                                                           7OO STF,WART STRIET.     St]IIE 5220
      U.S. v. Louis Ong, CRlT-l9l-RSL                                        SEATTLE.    WASHlr,rclo\ 98101
                                                                                    (206) ssl-7970
